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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

      Kisu Seo, on behalf of himself and all other               )
      plaintiffs similarly situated known and unknown,           )
                                                                 )
                          Plaintiff,                             )     Case No. 19-cv-3248
                 v.                                              )
                                                                 )
      H Mart Inc., H Mart Holdings, Inc., H Mart                 )
      Logistics, Inc., H Mart American Dream,                    )
      LLC, H Mart Companies, Inc., H Mart                        )
      Midwest Corp. DBA Super H Mart, BK                         )
      Schaumburg Inc., H Mart Troy, LLC, H Mart                  )
      Torrence LLC, H Mart Garden Grove, LLC,                    )
      H Mart Norwalk LLC and Il Yeon Kwon                        )
                                                                 )
                          Defendants.                            )

                                  SECOND AMENDED COMPLAINT

     Plaintiff, Kisu Seo (“Seo”), on behalf of himself and all other Plaintiffs similarly situated

known and unknown, by and through his undersigned attorneys, hereby files this Amended

Complaint against Defendants, H Mart Inc. (“HQ”), H Mart American Dream, LLC, H Mart

Holdings, Inc., H Mart Logistics, Inc., H Mart Companies, Inc., H Mart Midwest Corp. DBA

Super H Mart, BK Schaumburg Inc DBA H Mart Fresh, H Mart Troy, LLC, H Mart Torrence

LLC, H Mart Garden Grove, LLC, H Mart Norwalk, LLC (collectively, the “Subsidiaries” and

together with HQ, the “defendants”) and Il Yeon Kwon (collectively the “Defendant”), and states

as follows:


                                            INTRODUCTION

1.      Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C. §§201

et. seq. (“FLSA”), the Illinois Wage Payment and Collection Act (“IWPCA”), 820 ILCS 115/1 et

seq., and the Illinois Minimum Wage Law, 820 ILCS 105/1 et. seq. (“IMWL”), that he is entitled


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to recover from Defendants: (1) unpaid overtime, (2) compensation for unpaid off-the-clock work,

(3) liquidated damages, (4) pre-judgment and post-judgment interest, (5) punitive damages and (5)

attorneys’ fees and costs.


                                   JURISDICTION AND VENUE

2.     This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b), 28 U.S.C.

§§1331, 1337 and 1343, and has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. §1367. More specifically, all subsidiary defendants which are not

incorporated in Illinois are still subject to this Court’s jurisdiction because combined with HQ, the

defendants are integrated enterprise that acted as a single-employer. Alternatively, HQ and the

subsidiaries are not truly separate entities and the subsidiaries acted as agents of HQ and therefore

the subsidiaries’ contact with Illinois is imputed to HQ.

3.     Venus is proper in the Northern District pursuant to 28 U.S.C. §1367.


                                           THE PARTIES

4.     Defendant HQ operates a chain of Asian grocery stores and logistics company as a single

integrated enterprise under the shared trade name “Super H Mart” or “H Mart.” It currently

operates 67 stores and multiple logistics warehouses throughout the U.S.

5.     In May 2015, plaintiff was living and working in Illinois when HQ wanted to interview

him for a position. HQ interviewed plaintiff in Illinois for a produce buyer position. After the

interview, HQ hired plaintiff and also agreed to sponsor plaintiff to become a permanent resident

of the U.S. Plaintiff formally began his employment with HQ on June 4, 2015. HQ directed

plaintiff to move to New Jersey to get trained at its store in Ridgefield, New Jersey. Plaintiff flew

to New Jersey and began his traning at the Ridgefield store of H Mart. Plaintiff worked at the

Ridgefield store until October 24, 2015.

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6.      After successful training, HQ assigned plaintiff to work at Garden Grove, California

location of H Mart store. Plaintiff started his work at Garden Grove H Mart store on October 25,

2015. A few months after plaintiff began working at the Garden Grove store, HQ reassigned him

to work at its logistics warehouse in Whitter, CA. Several months after working at the warehouse,

HQ yet again reassigned plaintiff to work at Norwalk, CA location of H Mart. While he was

working at Norwalk store, HQ opened a new store in Torrence, CA. After the Torrence store

opening, HQ ordered Seo to work at the new store. After working at various locations of H Mart

in California, HQ transferred plaintiff to Troy, Michigan location of H Mart. Seo worked in Troy,

MI from September 26, 2016 to July 19, 2018.

7.      In July of 2018, HQ transferred Seo to work at Naperville, IL location of H Mart. Seo

worked at that store from July 22, 2018 to October 7, 2018. Seo was transferred one last time on

October 8, 2018, this time to Schaumberg location of H Mart. Seo worked at that location until he

was terminated on April 17, 2019.

8.      Througout Seo’s employment with HQ, HQ and its subsidiaries had complete control over

plaintiff’s employment. HQ hired Seo. HQ also determined when Seo to work, where to work,

how much money to pay him, how many hours to work, what kind of work to do, to whom he

reports to, and whether he should be disciplined. HQ ultimately decided to terminate Seo as well.

9.      HQ maintained all of Seo’s employment records as well as employment records for all

other employees of HQ in its office located at 300 Chubb Ave., Lyndhurst, NJ 07071.

10.      HQ oversees(ed) employee relations for all subsidiaries including plaintiff. The following

tasks are done exclusively by HQ for all subsidiaries:

           a. Organizes and updates employee files.

           b. Track employee progress, noting promotions, recognition and policy violations and

               documenting them accordingly

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     c. Ensure that former employee files are maintained according to law.

     d. Advertise positions, identify and communicate with potential candidates.

     e. Conduct interviews, perform employment verification and background checks and

        assist with notifying candidates with their decision.

     f. Works with other human resources staff members to complete the hiring process

        including completing and filing all hiring paperwork.

     g. Educating employees in regards to compensation, benefits and company policies

        and designing and implementing the orientation and training process.

     h. Act as a liaison between employer and employee, overseeing employee relations.

     i. Receiving and handling employee complaints, escalating these complaints to the

        level of disciplinary or legal action when necessary

     j. Updates employees with any changes in company policy, advising supervisors on

        treatment of staff and company policies, responds to employee violations of policy

        and generally helps to resolve conflict in the workplace.

     k. Facilitate the layoff, firing or departure process of employees who leave

        voluntarily.

     l. Conduct exit interviews and administer severance, and assist with firing decisions

        and notification of termination.

     m. Handle questions, interpreting and administering contracts and helping resolve

        work-related problems.

     n. Perform HR duties such as dealing with under staffing, refereeing disputes, firing

        employees and administering disciplinary procedures

     o. Research, design and implement learning and development programs

     p. Document all investigative activities.

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     q. Develop and design the company's health and safety policies.

     r. Visit each store and identify hazardous workplace conditions and conduct internal

        inspection.

     s. Train employees on safety policies and procedures, and regulations pertaining to

        employee safety.

     t. Partner with various vendors to provide health and safety related services and

        manage the contract.

     u. Ensure compliance with all applicable federal and state health and safety

        regulations and ensures necessary records are maintained and prepared according to

        established guidelines.

     v. Assist in Occupational Safety and Health Administration (OSHA) inspections,

        providing inspectors with appropriate documents and identifying safety measures.

     w. Review and follow-up on inspection reports from government agencies such as

        Health Dept., Consumer Affairs, USDA, FDA, etc.

     x. Completing applications for renewal of various licenses and permits.

     y. Managing the facilities which are related to health and compliance issues.

     z. Performs tasks to establish and maintain employee/payroll records. Maintains

        payroll system and processes payroll, including new hire set up, tax form

        processing, local taxes, time sheets review, direct deposit set up, benefits set up,

        relocation, voluntary deductions, terminations and garnishment processing.

     aa. maintainig employee changes are entered correctly and made on a timely basis.

        Reviews changes for proper authorization and adherence to policy including

        compliance with federal/state/local regulations. Process time sheets and audits

        timekeeping records for compliance with established standards. Balances and

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        controls earnings and deduction totals, inspecting automated system output such as

        registers and standard reports. Identifies and corrects out-of-balance conditions.

     bb. Interprets payroll policies and procedures to company employees of all levels.

     cc. Researches and analyzes payroll/tax discrepancies and processes appropriate

        corrections.

     dd. Analyzes, audits, reconciles and resolves complex payroll, tax, and employee

        issues.

     ee. Ensures payroll reporting and payments are compliant with company policy,

        generally accepted accounting principles, and federal, state and IRS regulations.

     ff. Researches and interprets federal and state regulatory requirements and resolves

        tax, withholding, garnishment, and wage/hour issues for payroll processing.

        Performs quarterly and annual balancing of wage and tax reports. Finds and

        corrects errors in a timely manner to ensure accuracy of payroll tax withholding,

        minimizing potential penalties.

     gg. Responsible for accurate set up and system maintenance of SUI rates, registration

        of new accounts when required and verification of SUI rates by work location.

        Calculates and sets up garnishments, levies, and family court orders in.

     hh. Coordinates efforts between payroll, human resources, finance, benefits, tax and

        other departments to ensure proper flow and maintenance of employee data.

        Coordinates with Finance to ensure the accuracy of payroll codes and general

        ledger account mapping in relationship to the payroll interface uploaded each pay

        period

     ii. Provides data for auditors and local, state or federal agencies as needed



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     jj. Maintains payroll files and provide necessary reports or documentation. Creates

        and maintains SOPs as needed; monitors procedures for accuracy and relevance

     kk. Design and implement overall recruiting strategy and execute on this strategy

     ll. Perform job and task analysis to document job requirements and objectives

     mm.        Lead recruitment process for active open positions

     nn. Develop and update job descriptions and job specifications

     oo. Post, update and ensure consistency of all internal and external job postings.

     pp. Prepare recruitment materials and source and recruit candidates by using company

        websites, databases, social media posts, appropriate job board, online recruitment

        resources, newspapers, etc.

     qq. Onboard new employees in order to become fully integrated

     rr. Provide analytical and well documented recruiting reports to the rest of the team

     ss. Build applicant sources by researching and contacting with community services,

        colleges, employment agencies, and internet sites; providing organization

        information, opportunities, and benefits; making presentations; maintaining

        rapport.

     tt. Provide complete, accurate, and inspiring information to candidates about the

        company and position.

     uu. Stay abreast of current legislation and policy changes to ensure recruiting activities

        follow all processes and procedures outlined by Federal, State, and Local

        employment law.

     vv. Facilitate post-offer process with employees once offer has been accepted.

     ww.        Conduct on-boarding and orientation with new hires.

     xx. Design and implement overall recruiting strategy and execute on this strategy

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     yy. Review resumes and credentials for appropriateness of skills, experience, and

        knowledge in relation to position requirements.

     zz. Screen candidates resumes and job applications

     aaa.       Conduct interviews to filter candidates within schedule

     bbb.       Conduct high volume full-cycle recruitment activities to ensure successful

        Talent Acquisition from a technical and cultural perspective

     ccc.       Build applicant sources by researching and contacting with community

        services, colleges, employment agencies, and internet sites; providing organization

        information, opportunities, and benefits; making presentations; maintaining

        rapport.

     ddd.       Provide complete, accurate, and inspiring information to candidates about

        the company and position.

     eee.       Post, update and ensure consistency of all internal and external job postings.

     fff. Prepare recruitment materials and source and recruit candidates by using company

        websites, databases, social media posts, appropriate job board, online recruitment

        resources, newspapers, etc.

     ggg.       Review resumes and credentials for appropriateness of skills, experience,

        and knowledge in relation to position requirements.

     hhh.       Screen candidates resumes and job applications

     iii. Conduct interviews to filter candidates within schedule

     jjj. Onboard new employees in order to become fully integrated

     kkk.       Provide analytical and well documented recruiting reports to the rest of the

        team



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               lll. Conduct high volume full-cycle recruitment activities to ensure successful Talent

                   Acquisition from a technical and cultural perspective

11.         HQ formulates every aspects of employment and labor rules, guidelines, and policies for

all itself and its subsidiaries. The branch stores do not have a say in formulation of any rules or

policies as they are simply mandated to be implemented by HQ.

12.         All employment positions are filled by HQ through its website www.hmart.com.

Individual branches do not have any right to chart their own course nor do they have staff to do so.

13.         Hiring, promotion, demotion, termination of the H Marts’ employees are done by HQ.

Each branch managers are hired by HQ and through those branch managers, HQ exercises

complete control over all of operation of its subsidiaries. None of the H Mart’s separate corporate

entities have HR department because HQ’s HR department handles all of human Resource for all

its subsidiaries. Local branch store managers report to HQ and the managers do not have authority

to discipline or terminate employees. If there is a problem with an employee, HR department

employee(s) from HQ investigate the situation, adjudicate and enforce the rules. All of HQ’s

subsidiaries merely act as agents of HQ. The subsidiaries are only given the duties to carry out

HQ’s policies including how to pay, how much to pay, when to pay, who to pay, and why certain

employee is paid certain amount. These policies are all formulated by HQ.

  14. All 67 H Mart stores (“the H Marts”) are engaged in related activities, share common

ownership, and have a common business purpose:


      (a)      The H Marts are commonly owned and operated by CEO Il Hyun Kwon and his

               family;

      (b)      The H Marts are advertised jointly as a common enterprise on Defendants’ website,

               www.hmart.com;


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      (c)      The H Marts share a common logo and similar items, similar sales event, with many

               identical items;

      (d)      The H Marts share payroll methods and have a single, centralized system of labor

               relations for employees at all their locations;

      (e)      Supplies are interchangeable among the the H Marts;

      (f)      Employees are interchangeable among the H Marts.

      (g)      In essence, HQ acts as a principal and all the other defendants acts as agents of H Mart,

               Inc.


15.         At all relevant times, the Defendants were and continue to be an “enterprise engaged in

commerce” within the meaning of the FLSA.

16.         At all relevant times, the work performed by Plaintiff was directly essential to the business

operated by Defendants.

17.         In June 4, 2015, HQ hired Plaintiff and until it terminated his employment in 2019, HQ

assigned Seo to work at the following stores and warehouse locations:

      a)       321 Broad Ave.Ridgefield, NJ 07657
      b)       8911 Garden Grove Blvd.Garden Grove, CA 92844 operated by H Mart Garden Grove,
               LLC;
      c)       801 Civic Center Drive Niles IL 60714, operated by H Mart Midwest Corp.;
      d)       1295 E. Ogden Avenue, Naperville, IL 60563, operated by H Mart Midwest Corp.;
      e)       34 E. Golf Rd. Schaumburg, IL 60173, operated by BK Schaumburg Inc.;
      f)       4340 Pacific Coast Hwy, Torrence CA 90505, operated by H Mart Torrence LLC
      g)       15933 Pioneer Blvd. Norwalk, CA 90650, operated by H Mart Norwalk, LLC
      h)       963 E. Big Beaver Rd. Troy, MI 48083, operated by H Mart Troy, LLC.
      i)       11966 Washingston Blvd. Whitter, CA 90606 operated by H Mart Logistics, Inc.



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18.     The defendants, while nominally separate entities, was in fact treated as an integrated

enterprise because their operation is completely integrated because all of them are managed by

HQ. The CEO Il Hyeon Kwon and his family own all of the defendants and exercises sole

financial control over the defendants. Most importantly, HQ is the sole entity that has control over

labor relations: HQ makes all employment decisions for all defendants. None of the subsidiaries

even has HR department or any employee who performed HR related tasks.

19.     Defendants share identical wage and hour policies, formulated by HQ and strictly enforce

by the same. Simply put, HQ exercises complete control over all its subsidiaries. The subsidiaries

are separate entities in nominal terms only

                                    STATEMENT OF FACTS

20.     On June 4, 2015, Plaintiff Kisu Seo was hired by Defendants to work in the department of

Produce. Plaintiff’s employment by Defendants was terminated on April 18, 2019.

21.     At the beginning of his employment, the Plaintiff went to H Mart at 321 Broad Ave,

Ridgefield NJ 07657 for training.

22.     From March 1, 2016, to September 14, 2016, Plaintiff worked at the H Mart Norwalk

located at 15933 Pioneer Blvd. Norwalk CA 90650 and H Mart Torrence located at 4340 Pacific

Coast Hwy, Torrence CA 90505. He regularly worked from at least from 8 a.m. to 6 p.m. for 6

days a week.

23.     During this period, Plaintiff also worked at H Mart Carrolton at 2625 Old Denton Rd. #200

Carrollton, TX 75007 for about one week and H Mart Lakewood located at 20137 Pioneer Blvd.,

Lakewood, CA 90715. He started his work at 7:00~7:30 a.m. and ended at 10 p.m. every day.

24.     From September 26, 2016, to July 20, 2018, Plaintiff worked at H Mart Troy located at

2963 E. Big Beaver Rd. Troy MI 48083. Plaintiff worked six (6) or seven (7) days per week for

ten (10) to eleven (11) hours per day, for a total of sixty (60) to seventy (70) hours per week.

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25.      During his employment by Defendants, Plaintiff was paid at a fixed amount of $4,500 a

month. Defendants did not pay plaintiff more wage when plaintiff worked more hours or paid him

any overtime wage.

26.      From June 4, 2015, until April 18, 2019, Defendants willfully violated Plaintiff SEO’s

rights by paying him on a fixed salary basis, in violation of the FLSA because Plaintiff SEO was a

non-exempt employee who must be paid on an hourly basis.

27.      At all relevant times, Plaintiff worked a combined total of more than forty (40) hours each

workweek. However, Defendants failed to pay him all of the overtime premium due for those

hours he worked in excess of forty (40) each workweek.

28.      H Mart, Inc. is a domestic business corporation organized under the laws of the State of

Delaware with an address for service of process located at 251 Little Falls Drive, Wilmington DE

19808. H Mart, Inc. is also registered in the state of California as a foreign corporation with an

address for service of process located at 11966 Washington Blvd. Whittier CA 90606. H Mart,

Inc. operates all of the H Marts’ locations.

29.      H Mart Companies, Inc., H Mart American Dream LLC, H Mart Holdings Inc. are

domestic business corporations and limited liability companies organized under the laws of the

State of New Jersey, with an address for service of process at 300 Chubb Ave. Lyndhurst NJ

07071. H Mart Companies, Inc, H Mart American Dream LLC, and H Mart Holding Inc. operate

all of the H Marts’ locations.

30.      H Mart Logistics, Inc is a domestic business corporation organized under the laws of the

State of California, with an address for service of process at 11966 Washinton Blvd., Whittier, CA

90606.

31.      H Mart Midwest Corp is a domestic business corporation organized under the laws of the

State of Illinois, with an address for service of process at 550 Barclay Blvd. Lincolnshire, IL

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60069. H Mart Midwest Corp owns and operates H Mart warehouse located at 550 Barclay Blvd,

Lincolnshire IL, Super H Mart located at 801 Civic Center Dr. Niles IL 60714, and Super H Mart

at 1295 E. Ogden Ave, Naperville IL 60563.

32.      BK Schaumburg Inc d/b/a H Mart Fresh is a domestic business corporation organized

under the laws of the State of Illinois, with an address for service of process at 801 Civil Center

Dr. Ste A, Niles, IL 60714. BK Schaumburg Inc owns and operates H Mart Fresh located at 34 E.

Golf Rd. Schaumburg, IL 60173.

33.      H Mart Troy Inc d/b/a H Mart is a domestic business corporation organized under the laws

of the State of Michigan, with an address for service of process at 2963 E. Big Beaver Rd. Troy

MI 48083. H Mart Troy Inc owns and operates H Mart located at 2963 E. Big Beaver Rd. Troy MI

48083.

34.      IL YEON KWON is an owner and principal of all of the Corporate Defendants. IL YEON

KWON exercises operational control as it relates to all employees including Plaintiff. IL YEON

KWON frequently visited each of the H Mart locations. He exercises the power to (and also

delegates to managers and supervisors the power to) fire and hire employees, supervise and

control employee work schedules and conditions of employment, and determine the rate and

method of compensation of employees including those of Plaintiffs. At all times, employees could

complain to IL YEON KWON regarding any of the terms of their employment, and IL YEON

KWON had the authority to effect any changes to the quality and terms of employees’

employment, including changing their schedule, compensation, or terminating or hiring such

employees, and to reprimand any employees for performing their job duties improperly.


                                    STATEMENT OF CLAIM

                                     COUNT I
                   VIOLATION OF THE FAIR LABOR STANDARDS ACT

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35.       Plaintiff realleges and reavers Paragraphs 1 through 18 of Complaint as if fully set forth

herein.

36.       At all relevant times, Defendants were and continue to be employers engaged in interstate

commerce and/or the production of goods for commerce within the meaning of the FLSA, 29

U.S.C. §§ 206(a) and 207(a).

37.       At all relevant times, Defendants employed Plaintiff within the meaning of the FLSA.

38.       At all relevant times, each Corporate Defendant had gross annual revenues in excess of

$500,000.00.

39.       At all relevant times, Defendants engaged in a policy and practice of refusing to pay

overtime compensation at the statutory rate of time and one-half to Plaintiff for hid hours worked

in excess of forty (40) hours per workweek.

40.       Defendants willfully violated Plaintiff’s rights by refusing to compensate them for off-the-

clock hours during which they were required to work;

41.       Records, if any, concerning the number of hours worked by Plaintiff and the actual

compensation paid to Plaintiff are in the possession and custody of the Defendants. Plaintiff

intends to obtain these records by appropriate discovery proceedings to be taken promptly in this

case and, if necessary, will then seek leave of Court to amend this Complaint to set forth the

precise amount due.

42.       Defendants failed to properly disclose or apprise Plaintiff of his rights under the FLSA.

43.       As a direct and proximate result of Defendants’ willful disregard of the FLSA, Plaintiff is

entitled to liquidated (i.e., double) damages pursuant to the FLSA.




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44.       Due to the intentional, willful, and unlawful acts of Defendants, Plaintiff suffered damages

in an amount not presently ascertainable of unpaid minimum wages, unpaid overtime premium,

and an equal amount as liquidated damages.

45.       Plaintiff is entitled to an award of their reasonable attorneys’ fees and costs pursuant to 29

U.S.C. §216(b).

      WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:


  a. A judgment in the amount of one and one-half times Plaintiff's regular rate for all hours

        which Plaintiff worked in excess of forty (40) hours per week;

  b. Liquidated damages in an amount equal to the amount of unpaid overtime compensation

        found due;

  c. Reasonable attorney’s fees and costs incurred in filing this action; and

  d. Such other and further relief as this Court deems appropriate and just.

                                     COUNT II
                   VIOLATION OF THE ILLINOIS MINIMUM WAGE LAW

46.       All allegations of the Complaint are expressly incorporated herein and Plaintiff repeats and

realleges each and every allegation set forth in this Complaint as though set forth fully at length

herein.

47.       This Court has supplemental jurisdiction over the matters alleged herein pursuant to 28

U.S.C. §1367.

48.       The matters set forth in this Count arise from Defendant's violation of the overtime

compensation provisions of the Illinois Minimum Wage Law 820 ILCS 105/4a. Plaintiff brings

this action pursuant to 820 ILCS 105/12(a).




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49.     Pursuant to 820 ILCS 105/4a, for all weeks during which Plaintiff worked in excess of

forty (40) hours, Plaintiff was entitled to be compensated at one and one-half times their normal

hourly rate of pay for hours worked in excess of forty (40) hours per week.

50.     Defendants failed to compensate Plaintiff's overtime wages for hours worked in excess of

forty (40) in individual workweeks.

51.     Defendants violated the Illinois Minimum Wage Law by not compensating Plaintiff's

overtime wages for hours worked in excess of forty (40) in individual workweeks.

52.     Defendants willfully violated the Illinois Minimum Wage Law by refusing to compensate

Plaintiff at one and one-half times their regular rate of pay for hours worked in excess of forty (40)

hours per week.

53.     Pursuant to 820 ILCS 105/12(a), Plaintiff is entitled to recover unpaid wages for at least

three years prior to the filing of this suit, plus punitive damages in the amount of two percent (2%)

per month of the amount of underpayments.

WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:

A.      A judgment in the amount of one and one-half times Plaintiff's hourly wage rate for all

hours which Plaintiff worked in excess of forty (40) hours per week

B.      Punitive damages pursuant to the formula set forth in 820 ILCS105/12(a);

C.      Reasonable attorney’s fees and costs incurred in filing this action; and

D.      Such other and further relief as this Court deems appropriate and just.


                                               COUNT V
                     Violation of the Illinois Wage Payment and Collection Act
                                        Failure to Pay Claims

54.     Plaintiffs hereby incorporate by reference the foregoing paragraphs of this Complaint into

this count.



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55.      The Illinois Wage Payment & Collection Act, 820 ILCS §115/3 et seq., requires that

“every employer shall be required, at least semimonthly, to pay every employee all wages earned

during the semi-monthly pay period” and pay "final compensation" at the time of separation, if

possible, or if not, by the next regularly scheduled payday for the employee.

56.      Plaintiff and defendants entered into a written agreement regarding planitiff’s pay and the

agreement is in defendant HQ’s custody. During the applicable statute of limitations, by the course

of conduct set forth above, Defendants have failed to pay Plaintiffs all wages due in violation of

the Illinois Wage Payment & Collection Act, 820 ILCS §115/3 et seq.

57.      Because Defendants failed to properly pay wages due as required by law, Plaintiffs are

entitled under the Illinois Wage Payment & Collection Act, 820 ILCS §115/3 et seq. to recover all

wages due, two percent interest per month on all wages due until fully paid, costs, and reasonable

attorneys.

         WHEREFORE, Plaintiffs, on behalf of themselves, pray for relief as follows:

         A.      A declaration that Defendants are financially responsible for notifying the FLSA

      Collective of its alleged wage and hour violations;

         B.      Judgment against Defendants for an amount equal to Plaintiff unpaid minimum

      wages and overtime wages at the applicable rates;

         C.      A finding that Defendants’ conduct was willful;

         D.      An equal amount of the minimum wages and overtime wages as liquidated

      damages;

         E.      All costs and attorney’ fees incurred prosecuting these claims, including expert

      fees;

         F.      Pre-judgment and post-judgment interest, as provided by law;



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         G.     Leave to add additional Plaintiff by motion, the filing of written consent forms, or

      any other method approved by the Court; and

         H.     Such further relief as the Court deems just and equitable.

                                            COUNT VI
                                            Retaliation

58.      Plaintiffs hereby incorporate by reference the foregoing paragraphs of this Complaint into

this count.

59.      Defendant HQ decided to sponsor plaintiff for a Green Card. Among immigrants who do

not have permanent residency status in the U.S., earning a Green Card is highly coveted and many

immigrants will go above and beyond what they are required to work in order to achieve the

permanent resident status. In fact, many immigrants who are sponsored by their employer for a

Green Card often say that their work condition is “slave like” because out of fear of falling out of

favor with their employers, employees who get sponsored often do not complaint about work

conditions or terms. Such unspoken rule is pervasive among immigrant society. Those sponsored

employees are expected to work harder and longer without receiving additional pay and most dare

to speak out for their lawful rights.

60.      While plaintiff was assigned to work at the H Mart warehouse in L.A., one day plaintiff

arrived at work at 6:15 a.m., 15 minutes later that his normal start time. The warehouse chief Mr.

Jang Won Lee saw plaintiff arriving at 6:15 a.m., and told plaintiff to work the required hours.

When plaintiff complained to Mr. Lee that plaintiff was working over and beyond the required

hours without getting paid additional wage, Mr. Lee told plaintiff “I don’t know about the

overtime pay. You need to talk to the headquarter. Just make sure to arrive at work on time.”

Plaintiff was later transferred to another H Mart branch. The decision to transer plaintiff was made



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by the headquarter H Mart, Inc. Such decision was made after plaintiff complained about not

receving overtime pay and in retaliation.

61.     On or about July 1, 2016, plaintiff was leaving work around 6:10 p.m. When Plainitff said

goodbye to the branch manager Sung Moon Yoon and assistant department head Mr. Park, the

branch manager Yoon asked plaintiff “are you leaving already?” Assistant department head Mr.

Park commented “You are leaving early, aren’t you?” Plaintiff responded by saying “my hours are

from 8 a.m. to 6 p.m. so I am not leaving early.” Mr. Yoon and Park shook their head and said

“enough.”

62.     When Seo continued to leave at hours he was supposed to leave and not work additional

hours with no pay that he was expected to do as a Green Card sponsor receipient, Mr. Park and the

store manager warned Seo several times that he was being given “the last chance:” to do as they

expected him to do which is to keep his mouth closed and work additional hours for the same pay

he was getting.

63.     When Seo complained and did not perform extra hours of work with no pay, defendants

retaliated by stop sponsoring him for a Green Card and also frequently transferred him to different

stores in different states which made Seo’s life more difficult since he had to start over at each

new location.

64.     While plaintiff was working for Troy, MI store, on his day off, he was ordered to report to

the store because someone from the upper management from HQ was visiting the store. When Mr.

Seo told the store manager that it was his off day, the manager sounded incredulous and told Seo

to be “a team player and help out.” Another off day, Seo was at home resting. The manager called

Seo and told him that “Director Mr. Cho is visting the store and I need to save my face so hurry up

and come.” Over the course of years, several times Seo was ordered to come in to a store when it

was his off day. He did come in and defendants did not pay for such work. The store manager was

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upset that Seo was complaining about coming in to the store on his off day. He made numerous

threats about Seo’s job safety.

65.      Seo suffered severe emotional distress after receiving constant threats from his superiors

for not staying beyond required hours and work with no pay or not being a team player and come

in to the stores on his off days. Seo’s superiors often made threat of firing him and in fact did fire

him for openly complaining about his work conditions.

66.      Seo’s frequent transfers and discontinuation of sponsoring for Green Card is clear

retaliation for Seo not accepting the unspoken rules of “be grateful for being sponsored for a

Green Card and work like a slave.”

67.      Seo was simply engaged in protected activity and defendants’ frequent transfer,

termination and discontinuation of Green Card sponsorship is unlawful retaliation against Seo.

         WHEREFORE, Plaintiffs pray for relief as follows:

         A.     A finding that Defendants’ conduct was unlawful retaliation;

         B.     Award punitive damages;

         C.     Lost wages as a result of the retaliationary discharge;

         D.     Award compensatory damages;

         E.     All costs and attorney’ fees incurred prosecuting these claims, including expert

      fees;

         F.     Pre-judgment and post-judgment interest, as provided by law; and

         G.     Such further relief as the Court deems just and equitable.




                                              JURY TRIAL

         A jury trial is demanded on all Counts.


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                                               /s/ Ryan Kim
                                                  Ryan J. Kim

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             NOTICE OF CONSENT TO BECOME A PARTY PLAINTIFF IN
         A COLLECTIVE ACTION UNDER THE FAIR LABOR STANDARDS ACT




By my signature below I represent to the Court that I had been employed by H Mart Inc. within
the prior 3 years, that I have worked for Defendants hours in excess of forty in individual work
weeks, and have not been paid all of the overtime wages owed to me pursuant to 29 U.S.S. 207. I
authorize through this Consent the filing and prosecution of this Fair Labor Standards Act action
in my name and on behalf of all persons similarly situated to myself.



My name is: Kisu Seo

My signature: _/s/ Kisu Seo__

Date I signed this Notice: December 16, 2020
